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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      -----------------------------------------------------------------------x
                                                                             :
      JDM LONG ISLAND LLC,                                                   :
                                                                             :
                                          Plaintiff,                         :   No. 10-cv-05564-JS-AKT
                                                                             :
                               - against -                                   :
                                                                             :
      U.S. BANK NATIONAL ASSOCIATION, as Trustee,                            :
      as successor-in-interest to Bank of America, N.A., as                  :
      successor trustee for the registered holders of LB-UBS                 :
      Commercial Mortgage Trust 2006-C7, Commercial                          :
      Mortgage Pass-Through Certificates, Series 2006-C7,                    :
                                                                             :
                                          Defendant.                         :
      -----------------------------------------------------------------------x
                                                                             :
      U.S. BANK NATIONAL ASSOCIATION, as                                     :
      Trustee, as successor-in-interest to Bank of America,                  :
      N.A., as successor trustee for the registered holders of               : [PROPOSED]
      LB-UBS Commercial Mortgage Trust 2006-C7,                              : ORDER TO SHOW CAUSE
      Commercial Mortgage Pass-Through Certificates,                         : FOR APPOINTMENT OF
      Series 2006-C7,                                                        : RECEIVER
                                                                             :
                                          Counterclaim Plaintiff,            :
                                                                             :
                               - against -                                   :
                                                                             :
      TOWN OF HEMPSTEAD INDUSTRIAL                                           :
      DEVELOPMENT AGENCY; JDM LONG ISLAND                                    :
      LLC; JOSEPH MOINIAN; DAVID MOINIAN; THE                                :
      PEOPLE OF THE STATE OF NEW YORK,                                       :
      VILLAGE OF HEMPSTEAD; EAST COAST                                       :
      PETROLEUM, INC.; BAGNATO REALTY                                        :
      SERVICES, LLC (d/b/a NAI LONG ISLAND); THE                             :
      PEOPLE OF THE STATE OF NEW YORK;                                       :
      “JOHN DOE”; “MARY ROE”; and “XYZ                                       :
      CORPORATION” (the last three names being                               :
      fictitious but intended to designate tenants residing at               :
      or persons having an interest in the premises described                :
      in the Complaint herein),                                              :
                                                                             :
                                          Counterclaim Defendants. :
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                    UPON READING AND FILING the accompanying Declaration of

      Alex J. Guggenheim, dated May 13, 2011, and the exhibits annexed thereto, the

      accompanying Declaration of Jeffrey R. Wang, dated May 13, 2011, and the exhibits

      annexed thereto, and the accompanying Memorandum of Law, and upon all prior papers,

      pleadings, and proceedings in the above-captioned action,

                    LET PLAINTIFF-COUNTERCLAIM DEFENDANT JDM LONG

      ISLAND LLC SHOW CAUSE, before The Honorable Joanna Seybert, at the United

      States Courthouse located at 100 Federal Plaza, Central Islip, NY 11722, on May 16,

      2011 at __:___ _.m., or as soon thereafter as counsel may be heard, why an Order should

      not be made and entered, pursuant to Section 254(10) of the New York Real Property

      Law and/or Rule 6401 of the New York Civil Practice Law and Rules, appointing a

      receiver of the property known as 175 Fulton Avenue and 20 Hilton Avenue, Hempstead,

      New York.

                    IT IS ORDERED THAT opposing papers, if any, are to be served upon

      counsel for defendant-counterclaim plaintiff, Friedman Kaplan Seiler & Adelman LLP,

      7 Times Square, New York, NY 10036-6516, attention Jeffrey R. Wang,

      jwang@fklaw.com, so as to be received by 10:00 a.m. on May 16, 2011.

      Dated: Central Islip, New York
             May 13, 2011

                                                  SO ORDERED.


                                                   ___________________________________
                                                  Hon. Joanna Seybert, U.S.D.J.




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